                           UNITED STATES DISTRICT COURT
                     IN AND FOR THE NORTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

                                               )
Fraserside IP, LLC,                            )
               Plaintiff,                      )
v.                                             )
                                               )
Igor Kovalchuk d/b/a                           )     Docket No. 11-3040-MWB
DrTuber.com, www.DrTuber.com,                  )
and John Does 1-100                            )
and John Doe Companies 1-100,                  )
             Defendants.                       )
                                               )

               DEFENDANT IGOR KOVALCHUK’S MOTION TO DISMISS

       Pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(2), and 12(b)(6), Defendant Igor Kovalchuk

respectfully moves for the dismissal of the Plaintiff’s complaint in its entirety. As grounds for

this Motion, Mr. Waterweg states that:

       1.      He has not been served in the present case, despite the Plaintiff’s submission of a

purported return of service to the contrary;

       2.      Even if he had been served, he is incorrectly named as a defendant in this action

inasmuch as he neither owns nor operates the website at issue in this case, DrTuber.com;

       3.      Even if he was a proper defendant, he is a citizen of Russia and not subject to

personal jurisdiction in Iowa; and

       4.      The purported assignment of intellectual property to Plaintiff, Fraserside IP, LLC

(“Fraserside IP”) was a sham (inasmuch as the original registrants and owners continue to assert

ownership over the intellectual property). Even if the assignment was not a sham, it is void ab

initio as it was made in contravention of an injunction against the assignors.




         Case 3:11-cv-03040-MWB Document 14 Filed 11/10/11 Page 1 of 3
         Accordingly, the Complaint must be dismissed pursuant to Fed. R. Civ. P. 12(b)(1),

12(b)(2), and 12(b)(6). 1 In further support of this Motion, Mr. Kovalchuk relies on the

accompanying memorandum of law.

                                                               Respectfully submitted,
                                                               Igor Kovalchuk,
                                                               By his attorneys,

                                                               /s/Evan Fray-Witzer
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  The Plaintiff’s claims arise under the federal Copyright and Trademark laws. If it does not have standing to bring
such claims, then there are no claims over which this court would have subject matter jurisdiction. Alternatively, the
dismissal could be under Fed. R. Civ. P. 12(b)(6), since the Fraserside IP’s lack of standing also means that it has
failed to state a claim upon which relief may be granted.

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           Case 3:11-cv-03040-MWB Document 14 Filed 11/10/11 Page 2 of 3
                              ECF CERTIFICATE OF SERVICE

       I, Evan Fray-Witzer, hereby certify that on November 10, 2011, a copy of the above

document was served on Chad Bellville, attorney for the plaintiff, through the Court’s ECF

system in accordance with FRCP 5.



                                            /s/ Evan Fray-Witzer




                                               3

         Case 3:11-cv-03040-MWB Document 14 Filed 11/10/11 Page 3 of 3
